
Case is consolidated and petition for writ of certiorari to the United States Court of Appeals for the Sixth Circuit granted limited to the following questions: 1) Does the Fourteenth Amendment require a state to license marriage between two people of the same sex? 2) Does the Fourteenth Amendment require a state to recognize a marriage between two people of the same sex when their marriage was lawfully licensed and performed out-of-state? A total of ninety minutes is allotted for oral argument on Question 1. A total of one hour is allotted for oral argument on Question 2. Parties are limited to filing briefs on the merits and presenting oral argument on questions presented in their respective petitions. Briefs of petitioners to be filed on or before 2 p.m., Friday, February 27, 2015. Briefs of respondents to be filed on or before 2 p.m., Friday, March 27, 2015. Reply briefs to be filed on or before 2 p.m., Friday April 17, 2015.
